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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

IN THE MATTER OF                                  )
OLDER PENDING                                     )   MEMORANDUM AND ORDER
RULE 35(b) MOTIONS                                )



       There are currently pending before me a variety of older Rule 35(b) motions that have not
been resolved. I would like a status report from government’s counsel in each of these cases.
Therefore,

        IT IS ORDERED that in each of the below described cases and on or before February 21,
2006, the government shall file in the court file a status report advising when the pending Rule 35(b)
motion may be resolved. The cases to which this order pertains are:


Case Number            Defendant’s Name                Date Sentenced           Date Rule 35(b)
                                                                                Motion filed
4:99CR3052             Saenz, Efren                    3/19/03                  3/17/04
4:01CR3089             Young, Michele                  9/15/03                  9/9/04
4:01CR3109             Bachman, Joshua                 6/28/02                  6/26/03
4:01CR3127             Bachman, Scott                  9/19/02                  9/16/03
4:02CR3106             Attisha, Amar Ghanim            7/10/03                  7/08/04
4:02CR3106             Palm, Stuart Melvin             10/02/03                 9/27/04
4:02CR3107             Mendoza, Roberto                8/5/03                   7/29/04
4:02CR3165             Beltran, Oscar                  4/30/03                  4/29/04
4:02CR3165             Beltran, Vicente                6/17/03                  5/24/04
4:02CR3168             Gonzalez, Aaron                 9/08/03                  8/30/04
4:02CR3192             Carillo, Seferino               11/24/03                 11/19/04
4:02CR3204             Malone, James                   7/23/03                  7/16/04
4:02CR3210             Phipps, Walter A.               9/8/03                   9/29/04
4:03CR3005             Audelo, Manuel O.               11/10/03                 11/5/04
4:03CR3007             Solorio, Raul Arriage           10/24/03                 10/21/04
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Case Number         Defendant’s Name               Date Sentenced         Date Rule 35(b)
                                                                          Motion filed
4:03CR3014          Evans, Stephan B.              10/27/03               9/16/04

4:03CR3019          Guzman, Gumaro R.              8/19/03                8/11/04
4:03CR3021          Harrison, Rayjeanna            7/23/03                7/21/04
4:03CR3022          Sims, Alan K.                  7/07/03                6/21/04
4:03CR3024          Uldrich, Michael               9/10/03                9/9/04
4:03CR3027          Espinoza, Belinda A.           11/21/03               11/12/04
4:03CR3068          Fish, Jay T.                   11/7/03                11/04/04
4:03CR3076          Reyes, Vicente Luis            12/19/03               12/03/04


     February 3, 2006                      BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge




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